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Thaler Law Firm PLLC
Proposed Attorneys for
Andrew M. Thaler, Chapter 7 Trustee
675 Old Country Road
Westbury, New York 11590
'l`elephone: [516] 279-67 00
UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK Retul‘n Date: 9/10/18 @ 10:3Ua.m.
--------------------------------------------------------- X Objections Due: 9 / 3 / 18
in re:
Chapter 7
Nola Elizabeth Thacker, Case No. 8-18-72971-ast
Debtor.
_________________________________________________________ X

Notice the Trustee's Motion Seeking an Order [i] Directing the Debtor to
(a) Turnover Documents and (b) Allow the Trustee’s Professionals to Inspect Real
Property; [ii] Extending the Trustee’s Time to Object to the Debtor's Receipt of a
Discharge, and (iii] Directing the Debtor to Reimburse the Trustee for the Costs and_

Expense§ Incurred in Bringing this Motion

PLEASE 'I`AKE NOTICE that, upon the application {the “Application”] of Andrew M.
Thaler, chapter 7 trustee [the “Trustee" or "Appiicant”] of the bankruptcy estate (the “Estate”] of
Nola Elizabeth Thacker (the "Debtor”], through his proposed attorneys, Thaler Law Firm PLLC, a
hearing will be held before the Honorable Alan S. Trust, United States Bankruptcy ]udge for the
Eastern District of New York, 290 Federal Plaza, Roorn 760, Central lslip, New York 11722, Li_
Septernber 10. 2018 at 10:30 a.m., to consider the Trustee’s motion entry of an Order: [i)
directing the Debtor to (a) turnover documents and information specified in Paragraph “11" of
this Application [b] allow the Trustee's professional to inspect the interior of real property
located at 176 Wildwood Road, Sag Harbor, NY 11963; [ii} extending the Trustee’s time to file a
complaint objecting to the Debtor's receipt of discharge from August 6, 2018 to Novernber 30,
2018; (iii] directing the Debtor to reimburse the Trustee for the costs and expenses incurred in
bringing this Motion; and [iv] granting such other relief this Court decides is just and proper
(the l‘I\/Iotion"].

PLEASE TAKE FURTHER NOTICE that ol:)]'ectionsl if any, to the relief requested in the
Motion must: (i] be in Writing and state with particularity the legal and factual bases supporting
the objection(s]; [ii] be electronically filed With the Bankruptcy Court; and {iii] be served upon
Thaler Law Firrn PLLC, 675 OId Country Road, Westbury, New York 11590 [Attn: Spiros
Avrarnidis, Esq.), to be received no later than September 3z 2018.

Dated: Westbury, New York Thaler Law Firrn PLLC
August ;';, 2018 Proposed Attorneys for
And/rew M. haler, Chapter 7 trustee

By:

   
    

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UNITED STATES BANKRUPTCY C(}URT

EASTERN DISTRICT OF NEW YORK Return Date: 9 / 10 / 18 @ 10:30a.m.

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Chapter 7
Nola Elizabeth Thacker, Case No. 8-18-72971-ast

Debtor.
_________________________________________________________ X
Application in Support of the Trustee’s Motion Seeking an Order
[i] Directing the Debtor to [a) Turnover Documents and [b] Allow the Trustee’s
Professionals to Inspect Real Property; [ii] Extending the Trustee's Time to Object to
the Debtor's Receipt of a Discharge, and (iii] Directing the Debtor to Reimburse the

f!frustge for the Costs and Expgnses Incurred in Bringing this Motion

Andrew M. Thaler, chapter 7 trustee [the “Trustee" or “Applicant"] of the
bankruptcy estate (the “Estate"] of Nola Elizabeth Thacker [the “Debtor”], through his
proposed attorneys, Thaler Law Firm PLLC, submits this application in support of the
Trustee's motion [the "Motion”] and respectfully represents:

MUJMQ

1. This is a matter brought pursuant to Rules 4002 and 4004 of the Federal
Rules of Bankruptcy Procedure (the “FRBP”] and Sections 105(a], 521[3] and 542 of the
United States Bankruptcy Code seeking entry of an Order: [i] directing the Debtor to [a]
turnover documents and information specified in Paragraph "11" of this Application [b]
allow the Trustee’s professional to inspect the interior of real property located at 176
Wildwood Road, Sag Harbor, NY 11963; (ii] extending the Trustee’s time to file a complaint
objecting to the Debtor’s receipt of discharge from August 6, 2018 to November 30, 2018;
(iii] directing the Debtor to reimburse the Trustee for the costs and expenses incurred in
bringing this Motion; and [iv] granting such other relief this Court decides is just and

proper [the “Motion"].

 

CaS€ 8-18-72971-&8'[ DOC 20 Filed 08/01/18 Entered 08/01/18 16219:41

lURlSDICTION AND VENUE

2. The Court has jurisdiction to consider the Motion under 28 U.S.C. §§ 157,

13 34, and the Standing Order of Reference entered by the United States District Court for
the Eastern District of New York, dated August 28, 1986, as amended by Order dated
December 5, 2012, effective nunc pro tunc as of]une 23, 2011.

3. Venue is proper pursuant to 28 U.S.C. § 1409.

Background

4. On May 1, 2018 (the "Filing Date”], the Debtor commenced this case by filing
a voluntary petition for relief under Chapter 7 of the United States Bankruptcy Code. The
Trustee Was appointed as the Chapter 7 trustee in the Debtor's case and is duly qualified
and acting as such.

5. ln Schedule A/B, the Debtor disclosed her interest in real property located at
176 Wildwood Road, Sag Harhor, NY 11963 [the “Real Property"], with a note of “l AM NOT
SOLE" Written in response to “Describe the nature of your ownership interest...." The
Debtor valued the Real Property at $250,000.00. Based on drive-by evaluations conducted
by the Trustee's proposed/ expected auctioneer, Maltz Auctions ("Maltz"], Maltz believes
that the Real property has a value of approximately $470,000 to $500,000. However, Maltz
requires access to the Real Property to conduct a more accurate valuation

6. In Schedule D, the Debtor disclosed liens in the total amount of $166,506.48
against the Real Property, consisting of [i) a mortgage in the amount of $140,532.57, and
(ii] an “lRS/Commissioner of Taxation & Finance" in the amount of $25,973.91.

7. The Trustee has communicated with the Debtor on numerous occasions ln
these conversations the Debtor claimed that [i] she is not the sole recorded owner of the
Real Property, but [ii] the other co-owner, Katherine Neville [the "Co-()Wner”] signed and
delivered to the Debtor a deed transferring the Co-Owner’s interest to the Debtor in 1991
[the "Deed”). However, the Deed was never recorded The Trustee requested that the
Debtor produce the original Deed but the Debtor has not complied The Debtor did produce
a copy of the Deed, but not the original, which, per her own admission, she has in her
possession Additionally, the 'i`rustee requires all information and documents the Debtor
has regarding the current location of the Co-Owner and the Co-Owner’s family.

8. The Trustee requires the original Deed so that he may attempt to record the

2

 

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Deed, lf the Trustee is unsuccessful in recording the Deed, the Trustee contemplates
commencing an adversary proceeding to determine the Estate's and the Co-Owner’s
interests in the Real Property based upon the unrecorded Deed.

9. lf the Trustee is successful in showing that the Estate has a 100% equitable
and legal interest in the Real Property, there is significant equity for the Estate over and
above the liens [approximately $166,506.48] and the Debtor’s CPLR § 5206 homestead
exemption The Trustee conservatively estimated there is equity for the Estate in the
approximate amount of $147,668.52 [$485,000.00 average value - ($166,506.48 liens +
$170,825.00 exemption]].

APPLICATI{)N

 

L The Debtor should be directed to the turnover books and records and to allow
access to the Real Property

10. 11 U.S.C. § 521(a] [3] requires that a debtor “cooperate with the trustee as
necessary to enable the trustee to perform the trustee's duties under this title." 11 U.S.C. §
521(a] [4] requires that a debtor "surrender to the trustee all property of the estate.”
Furthermore, 11 U.S.C. § 542 provides that “an entity in possession custody, or control,
during the case, of property that the trustee may use, sell, or lease under section 363 of this
title shall deliver to the trustee, and account for, such property or the value of such
property."

ll. Here, by failing to turnover the requested books and records, the Debtor has
failed in complying with the duties imposed upon her as a debtor under the United States
Bankruptcy Code. ln failing to do so, the Debtor is hindering the Trustee's ability to "collect
and reduce to money the property of the estate” See 11 U.S.C. § 7 04(a]. The Trustee is
entitled to an Order directing the Debtor to turnover to the Trustee:

I. the original Deed conveying the Co-Owner’s interest in the Real Property to
the Debtor; and

ll. all documents regarding the current location of the Co-Owner and the Co-
OWner’s family

 

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12. Furthermore, the Debtor should be directed to allow the Trustee’s
professionals to access the Real Property so that they may accurately valuate the Real
Property.

13. Finally, the Trustee does not believe it is fair, however, for general unsecured
creditors to Suffer as a result of the Debtor’s failure to comply with his statutory duties.
Accordingly, the Trustee requests that the Court require the Debtor to pay the costs and
expenses, including attorneys’ fees, the Trustee incurred in bringing this Motion. This is not
a situation Where there is a genuine dispute over the Estate's right to seeking turnover of
property of the Estate. This is a simple case of a Debtor failing to turnover clearly non-
exempt property of the Estate, despite being afforded multiple opportunities to do so.
Unsecured creditors should not pay the price for the Debtor’s delays, hindrances, and
brazen intentional disregard of his duties.

14. Further, while this application does not seek to revoke the Debtor’s
discharge, it is respectfully submitted that a debtor who does not cooperate with his
statutory duties should not reap the benefit of discharging debt. if the debtor does not
comply, a basis exists to deny or revoke his discharge The Trustee may seek to deny the

Debtor’s discharge if the Debtor fails to comply With orders of the Court.

I_i_. The Trustee's time to object to the Debtor’s receipt of a discharge should be

extended

15. Federal Rule of Bankruptcy Procedure 4004 provides that "[o]n motion of
any party in interest, after notice and hearing the court may for cause extend the time to
object to discharge Except as provided in subdivision [b] (2], the motion shall be filed
before the time has expired.” Fed. R. Bankr. P. 4004[b] [1]. A chapter 7 trustee is a party in
interest for purposes of Rule 4004. In re Former, 786 F.Zd 618, 620 [4th Cir. 1986] [Holding
that "[b] ecause a trustee may object to discharge under section 7 27, he would clearly be a
“party in interest" to seek time extensions under 4004[13]"

16. Furthermore, for purposes of granting an extension under Rule 4004,
"[c]ause” is not defined, and the determination is committed to the Court's discretion In re
Nowinski, 291 B.R. 302, 305 [S.D.N.Y. Bankr. 2003]. The factors that a court normally

analyze include [1] whether the creditor had sufficient notice of the deadline and the

4

 

CaS€ 8-18-72971-&8'[ DOC 20 Filed 08/01/18 Entered 08/01/18 16219:41

information to file an objection, (2] the complexity of the case, (3] whether the creditor
exercised diligence [4] Whether the debtor refused in bad faith to cooperate with the
creditor, and (5] the possibility that proceedings pending in another forum will result in
collateral estoppel on the relevant issues. Id. at 305-06. “These factors provide an analytical
framework, and are not exclusive.” In re Chatkhan, 455 B.R. 365, 368 [E.D.N.Y. Bankr. 2011]
(Chief judge Craig].

17. I-lere, the Trustee has been attempting to diligently investigate the Real
Property. As indicated above, the Trustee has made numerous demands for documents, in
emails, letters, and phone calls. To date, the Debtor has not fully complied With the
Trustee’s requests Without the Debtor’s cooperation the Trustee is unable to obtain the
documents The Debtor should not be allowed to receive a discharge while not complying
with the duties imposed on her by the Bankruptcy Code. Additionally, the Debtor’s lack of
cooperation in and of itself gives grounds for the Trustee to object to the Debtor’s receipt of
a discharge The current deadline to object to the Debtor’s receipt of a discharge is August
6, 2018.

18. Accordingly, the Trustee believes an extension to the deadline to object to the
Debtor’s discharge is warranted in this instance The Trustee requests that the Court
extend this deadline to November 30, 2018. The Trustee believes this extension is
appropriate
june 26, 2018 - Phone

NOTICE

19. Copies of the Notice of Motion, the Application, and all exhibits Will be
served, by first-class mail upon: [i] the Debtor; (ii] the Office of the United States Trustee;
and (iii] all parties who have filed notices of appearance in this case

Proposed Order
20. A copy of the proposed order will be uploaded after a hearing on the lVlotion

as directed by the Court.

 

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WHEREFORE, the Trustee respectfully requests that the Court enter an Order: i]
directing the Debtor to (a] turnover documents and information specified in Paragraph
"11” of this Application (b] allow the Trustee’s professional to inspect the interior of real
property located at 176 Wildwood Road, Sag Harbor, NY 11963; (ii] extending the
Trustee's time to file a complaint objecting to the Debtor’s receipt of discharge from August
6, 2018 to November 30, 2018; [iii] directing the Debtor to reimburse the Trustee for the
costs and expenses incurred in bringing this Motion; and [iv] granting such other relief this

Court decides is just and proper.

Dated: Westbu , New York Thaler Law Firm PLLC
August z 2018 Proposed Attorneys for
Andnew M. lyler, Chapter 7 trustee
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